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                              UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF SOUTH CAROLINA

IN RE:                                              )
                                                    )   Case No.10-04014-dd
Andrade, Elba M.                                    )
                                                    )
                                                    )   Chapter 11
                                                    )
                                                    )   ORDER
                                                    )
                     Debtor                         )

        This matter came before the Court on Motion by Debtor Elba Andrade requesting a discharge
pursuant to 11 U.S.C. §114(d)(5)(A) or, in the alternative, pursuant to 11 U.S.C. §114(d)(5)(B). The
attorney for the Debtor, Elizabeth Atkins, and the Assistant United States Trustee, John T. Stack, were
present at the hearing. A timely objection to the motion was filed by the United States Trustee; no other
objections were filed.

         Counsel for the Debtor represented to the Court that the Debtor has completed payments to the
unsecured creditors under the terms of her confirmed Chapter 11 Plan. These creditors are identified in
Classes 4 and 5 in the confirmed Plan. The lone secured creditor, the mortgage holder on her personal
residence, has not been paid in full but payments have been maintained in a current status. As a result, the
Court is unable to find that the Debtor is entitled to a discharge. See 11 U.S.C. §114(d)(5)(A) “. . . the court
[shall] grant a discharge upon completion of all payments under the plan.” Nor is the Court willing to grant
a discharge under 11 U.S.C. §114(d)(5)(B).

        The Court finds that the Debtor has shown cause for the granting of limited relief as to her
unsecured creditors. Without objection,

        IT IS THEREFORE, ORDERED, that the Debtor, Elba Andrade, is hereby granted a discharge of
the debts and obligations that she has satisfied under the terms of her confirmed plan, as set forth
hereinabove, pursuant to 11 U.S.C. 11 U.S.C. §105 and §114(d)(5)(A).

         AND IT IS SO ORDERED.

 FILED BY THE COURT
     10/21/2019




                                                           David R. Duncan
                                                           Chief US Bankruptcy Judge
                                                           District of South Carolina


   Entered: 10/21/2019
